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            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

STATE OF FLORIDA, et al.                        )
                                                )
                   Plaintiffs-Appellants,       )
                                                )
v.                                              )     No. 24-12217-FF
                                                )
CENTERS FOR MEDICARE AND                        )
MEDICAID SERVICES, et al.,                      )
                                                )
                   Defendants-Appellees.        )

              JOINT MOTION TO DISMISS THE APPEAL
                AND VACATE THE DECISION BELOW

      Pursuant to Federal Rule of Appellate Procedure 42(b)(2), Appellants

State of Florida and Florida Agency for Health Care Administration

(collectively, “Florida”), and Appellees Centers for Medicare and Medicaid

Services (“CMS”), Administrator for CMS, Department of Health and Human

Services (“HHS”), and Secretary of Health and Human Services move to dismiss

this appeal and vacate the decision below under United States v.

Munsingwear, 340 U.S. 36, 39–40 (1950).

      On February 1, 2024, Florida sued Appellees to enjoin and vacate a CMS

Frequently Asked Questions (“FAQ”) document that purported to interpret

section 5112 of the Consolidated Appropriations Act, 2023, Pub. L. No. 117-

328, § 5112, 136 Stat. 4459, 5940 (2022). Florida argued that the FAQs imposed



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new obligations on the administration of its Children’s Health Insurance

Program, and amended existing HHS regulations, in violation of the

Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C), (D). On May 31, 2024,

the district court dismissed the case after concluding review provisions of the

Social Security Act impliedly precluded its jurisdiction under Thunder Basin Coal

Co. v. Reich, 510 U.S. 200 (1994).

      Florida timely appealed. On September 18, 2024, Florida filed its opening

brief in this Court. On November 25, 2024, Appellees filed their response brief,

arguing in part that HHS was about to finalize a new rule that “supersedes the

FAQs” at issue in this case. Gov.Resp.Br.16. HHS finalized that rule on

November 27, 2024. See Medicaid and CHIP Continuous Eligibility, 89 Fed.

Reg. 93912, 94463–67.

      Because Appellees represent that the new rule supersedes the FAQs at

issue in this case, the parties jointly move this Court to dismiss this appeal and

vacate the decision below without awarding costs to either side. See

Munsingwear, 340 U.S. at 39–40; Coal. for the Abolition of Marijuana Prohibition v.

City of Atlanta, 219 F.3d 1301, 1309–10 (11th Cir. 2000).




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Dated: December 13, 2024           Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

     I hereby certify that this motion complies with the type-volume

limitations of Federal Rule of Appellate Procedure 27(d)(7) because it

contains 306 words. This motion complies with the typeface and type

style requirements of Federal Rule of Appellate Procedure 32(a)(5)–(6)

because it has been prepared in a proportionally spaced typeface using

Microsoft Word in Calisto MT and 14-point font.


Dated: December 13, 2024                /s/ Jared M. Kelson
                                        Jared M. Kelson

                                        Counsel for Florida Agency for
                                        Health Care Administration




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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2024, I electronically filed the

foregoing document with the Clerk of this Court by using the CM/ECF system,

which will serve all parties automatically.


Dated: December 13, 2024                      /s/ Jared M. Kelson
                                              Jared M. Kelson

                                              Counsel for Florida Agency for Health
                                              Care Administration




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             U.S. COURT OF APPEALS FOR THE ELEVENTH CIRCUIT

                     CERTIFICATE OF INTERESTED PERSONS AND
                     CORPORATE DISCLOSURE STATEMENT (CIP)
                                      Centers for Medicare and
State of Florida              vs.        Medicaid Services       Appeal No. 24-12217
11th Cir. R. 26.1-1(a) requires the appellant or petitioner to file a Certificate of Interested
Persons and Corporate Disclosure Statement (CIP) with this court within 14 days after
the date the case or appeal is docketed in this court, and to include a CIP within every
motion, petition, brief, answer, response, and reply filed. Also, all appellees, intervenors,
respondents, and all other parties to the case or appeal must file a CIP within 28 days
after the date the case or appeal is docketed in this court. You may use this form to
fulfill these requirements. In alphabetical order, with one name per line, please list all
trial judges, attorneys, persons, associations of persons, firms, partnerships, or
corporations that have an interest in the outcome of this case or appeal, including
subsidiaries, conglomerates, affiliates, parent corporations, any publicly held corporation
that owns 10% or more of the party’s stock, and other identifiable legal entities related to
a party. (Please type or print legibly):

Bagenstos, Samuel R.

Becerra, Xavier

Boynton, Brian M.

Breckenhauer, Eric B.

Brooks-LaSure, Chiquita


Centers for Medicare and Medicaid Services

Christmas, Natalie

Department of Health and Human Services


Dos Santos, Joshua

Florida, State of

                                                                        *continued on next page
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Florida Agency for Health Care Administration
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No publicly traded company or corporation has an interest in the outcome of
the case or appeal.
